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                                                                                                    FILED
                                                                                                IN OPEN COUFfT

                    IN THE UNITED STATES DISTRICT COURT FOR THE
                              EASTERN DISTRICT OF VIRGINIA                                             3 2023
                                         Alexandria Division                            CUli'r^ U.G. C'Si



UNITED STATES OF AMERICA
                                                                   Criminal No. l:23-cr-119
        V.

                                                                   Honorable T.S. Ellis, III
CONOR BRIAN FITZPATRICK,

        a/k/a "Pompompurin"

         Defendant.



                                   STATEMENT OF FACTS


       The United States and the defendant CONOR BRIAN FITZPATRICK, a/k/a

"Pompompurin," agree that the following facts are true and correct, and that had this matter

proceeded to trial, the United States would have proven them beyond a reasonable doubt with

admissible and credible evidence that:


        1.      From in or around March 2022 through on or about March 15, 2023,the

defendant conspired with other members of the website known as BreachForums, including

BreachForums moderators and vendors, to commit and aid and abet the commission of the

following offenses:

             a. To knowingly and with intent to defraud, traffic in and use one or more

                unauthorized access devices during a one-year period, to wit payment card data,

                bank routing and account numbers, social security numbers, and login credentials,

                including usemames and associated passwords intended to be used to access

                certain online accounts provided by account issuers and other entities in the

                United States, and by such conduct obtain things of value aggregating $1,000 or


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               more during that period, said conduct affecting interstate and foreign commerce,

               in violation of 18, United States Code, Sections 1029(a)(2) and 2; and

            b. Without the authorization ofthe issuers of access devices, to knowingly and with

               the intent to defraud, solicit a person for the purpose of selling unauthorized

               access devices,to wit payment card data, bank routing and account numbers,

               social security numbers, and login credentials, including usemames and

               associated passwords, intended to be used to access online accounts provided by

               accoimt issuers and other entities in the United States, said conduct affecting

               interstate and foreign commerce,in violation of Title 18, United States Code,

               Sections 1029(a)(6) and 2.

       2.      In addition, FITZPATRICK kno"wingly falsely registered domain names,

including breached.vc, breached.to, breachedforums.com, breachforums.net, breachforums.org,

and knowingly used these domain names in the course of committing the offense described in

paragraph 1 and charged in Count 1 ofthe Criminal Information, in violation of 18 U.S.C, §

3559(g)(1).

       3.      Further, as explained in more detail in paragraphs 26 through 28,from on or about

June 28,2022,through on or about July 6, 2022, in the Eastern District of Virginia and

elsewhere, FITZPATRICK knowingly and with the intent to defraud, did aid and abet the

solicitation of at least one person for the purposes of offering imauthorized access devices, as

defined by 18 U.S.C. § 1029(e)(1) and (e)(3), to wit, bank account and routing numbers and

social security numbers, said solicitation affecting interstate and foreign commerce,in that the

solicitation occurred via the Internet, and between computers located inside the Commonwealth
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 of Virginia, and computers located outside ofthe Commonwealth of Virginia, in violation of 18

 U.S.C. §§ 1029(a)(6) and 2.

        4.      Further, as explained in more detail in paragraphs 37 through 42, on or about

 March 15, 2023,in the Southem District ofNew York, FITZPATRICK knowingly possessed

 and attempted to possess at least one matter containing one or more visual depictions that had

 been transported using a means and facility of interstate and foreign commerce, and in and

 affecting interstate and foreign commerce,and which visual depictions were produced using

 materials which had been mailed and so shipped and transported, by any means including by

 computer; and the production ofsuch visual depictions involved the use ofa minor engaging in

 sexually explicit conduct and such visual depictions were ofsuch conduct, to Avit: videos

 depicting prepubescent minors and minors who had not attained 12 years ofage engaging in

 sexually explicit conduct, stored on a Dell Inspiron 5593 laptop computer(service tag number

 B2W9723)with a Samsung 870 QVO 4TB solid state drive(SN S5VYNJ0T405292K).

                                  Overview of BreachForums

        5.     FITZPATRICK is a 20-year-old citizen ofthe United States, who resides in

 Peekskill, New York. On October 26,2020,FITZPATRICK began using the online moniker

"Pompompurin" to post messages on a then-prominent English language data breach forum

 named "Raidforums." FITZPATRICK,as "Pompompurin," developed a reputation amongst

 Raidforums members by, among other things, posting offers to sell hacked databases.

        6.     After law enforcement's public disruption of Raidforums in or around February

2022,FITZPATRICK,as "Pompompurin,"^ created a data breach website named "Breached"



'Unless specified otherwise, all of Fitzpatrick's conduct on BreachForums was done under the
cover of his online persona "Pompompurin."
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that later became widely known as "BreachForums"(collectively,"BreachForums")to serve as a

replacement for Raidforums. From at least March 2022 through March 15,2023,

FITZPATRICK controlled and acted as a lead administrator of BreachForums with the assistance

of others, including an evolving "staff of moderators.

        7.      While active, BreachForums operated as an illegal marketplace where its

members could solicit for sale, sell, and piurchase and trade hacked or stolen data and other

contraband, including stolen access devices,tools for committing cybercrime, breached

databases, and other services for gaining unauthorized access to victim systems. Among other

things, BreachForums enabled its members to post solicitations conceming the sale of hacked or

stolen data, exchange direct private messages with prospective buyers and sellers, buy access to

certain hacked or stolen data that the platform itself controlled, and arrange other services related

to the illicit transfer of stolen data and contraband.

        8.     The purpose of BreachForums, and FITZPATRICK's intent in operating the

forum, was to commit and aid and abet the trafficking of stolen or hacked databases containing,

among other things, access devices, and the posting of solicitations to offer databases containing

access devices. In particular, FITZPATRICK intentionally ran BreachForums in a manner that

made it an attractive marketplace for cybercriminals to frequent in an effort to buy, sell, or trade

stolen or hacked access devices. At all relevant times, FITZPATRICK knew and understood that

the access devices that BreachForums possessed and helped to traffic were stolen or obtained

with the intent to defraud, as defined in 18 U.S.C. § 1029(e)(3).

       9.      An individual could access the BreachForums website without a membership.

However,the website required an individual to sign up for a membership to solicit items for sale
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or purchase items. BreachFomms offered tiers of membership options, including a "God"

membership that offered almost unlimited access to the BreachFomms website and features.

       10.     BreachFomms included a "Marketplace" section that was dedicated to the buying

and selling of hacked or stolen data, tools for committing cybercrime, and other illicit material,

including a "Leaks Market" subsection. Some of the items that were often sold in this section

included bank account information, social security numbers, other personal identifying

information (PII), and login information for compromised online accounts, such as usemames

and passwords to access accounts with service providers and merchants.

       11.     For instance, on December 18,2022, a BreachFomms user with the moniker

"USDoD" posted details of approximately 87,760 members ofInfraOard, a partnership between

the Federal Bureau ofInvestigation(FBI)and private sector companies focused on the protection

ofcritical inffastmcture. In addition, on January 4,2023, information obtained from a major

U.S.-based social networking site was posted by a user with the moniker "StayMad." This

information included names and contact information for approximately 200 million users. More

recently, on March 9,2023, a BreachFomms user with the moniker "denfur" posted a message

revealing the PII oftens of thousands ofthousands of U.S. citizens. The message included a link

to download a file containing names, dates of birth, social security numbers,employment

information, and health insurance information compromised from a health insurance exchange.

       12.     BreachFomms also supported additional sections in which users posted stolen or

hacked data and discussed tools and techniques for hacking and exploiting that information,

including in the "Cracking,""Leaks," and "Tutorials" sections. BreachFomms further included

a "Staff section that was operated by BreachFomms administrators and moderators.
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       13.     In addition, to facilitate transactions amongst BreachForums members,

FITZPATRICK offered a "middleman" service in which he acted as a trusted middleman, or

escrow, between individuals on the website who sought to buy and sell information.

FITZPATRICK's "middleman" service substantially facilitated and encouraged the

dissemination of hacked or stolen data through BreachForums because it enabled purchasers and

sellers to verify the means of payment and contraband files being sold prior to executing the

purchase and sale. FITZPATRICK's standardized "middleman" process required members to

notify him ofthe "product" they sought to trade.

        14.    BreachForums further managed a section titled "Official," which was described as

a"Forum where databases stored on our own servers are kept." Official databases were

available for purchase on BreachForums' official "content distribution network"(CDN)through

a "credits" system that the website administered. Credits were available for purchase on the

website or earned through contributing content. BreachForums members seeking to post

databases to the official BreachForums content section were required to contact FITZPATRICK

directly, and FITZPATRICK personally approved the upload of databases to the CDN.

       15.     As of March 7,2023,the official section purported to contain 888 datasets,

consisting of over 14 billion individual records. These databases included a wide variety of both

U.S. and foreign companies, organizations, and government agencies.

       16.     BreachForums had approximately 333,412 members as of March 14,2023. It was

the largest English-language data breach forum of its kind at the time it went offline.

        FITZPATRlCK^s Administration of BreachForums and Middleman Service

       17.     FITZPATRICK was the founder and lead administrator of BreachForums.


FITZPATRICK's responsibilities in the conspiracy included (i) designing and administering the
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website's software and computer infrastructure;(ii) establishing and enforcing the website's

rules;(iii) creating and managing sections ofthe website dedicated to promoting the buying and

selling ofstolen data;(iv) operating a "middleman" service;(v)approving and uploading

breached databases to the BreachForums' official CDN;and (vi) providing other assistance to

BreachForums members seeking to buy and sell illicit material on the website, including by

investigating and sometimes vouching for the authenticity of stolen data.

        18.    As part ofthe administration of BreachForums, FITZPATRICK registered a large

volume of domains,including breached.vc, breached.to, breachedforums.com, breachforums.net,

breachforums.org, to host or provide access to the BreachForums website. To obscure his

identity, FITZPATRICK registered these domains in a manner that prevented the effective

identification of him as the person who registered it.

       19.     FITZPATRICK also hired and managed a "staff' of moderators that helped to

ensure BreachForums operated properly and performed traditional administrative activity, such

as transmitting messages to warn members of conduct that violated BreachForums' rules.

FITZPATRICK compensated staff members for acting as moderators.

       20.     FITZPATRICK and his co-conspirators gained at least $698,714 through the

relevant conduct alleged in Counts 1 and 2 of the Criminal Information.

                             Overt Acts in Support of Conspiracy

       21.     In furtherance ofthe conspiracy and its objects, the following overt acts, among

others, were committed in the Eastern District of Virginia and elsewhere by members ofthe

conspiracy.
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    A. FITZPATRICK Manages the "Official CDN"

        22.      On or about September 4,2022,FITZPATRICK made a post in the "Official'

section announcing the process to have data posted to the site's official content distribution

network ("CDN"):

 Forum Announcement: How to get your thread added to Official


              pompompurin        Do you want your Database post to be on our Official CDN?

                                 We are always looking for more databases to load onto our Official CDN.The only
                                 requirements are these;
                                 - You must know at the very least the Year and Month of the breach (Exceptions can
                                 be made if you only know the Year,just ask).
                                 - There must be at least 10,000 Records(Exceptions are always made in special
                                 cases, however we prefer loading in only larger breaches). Please tell me the exact
                                 user-count when messaging me so it's easier for us to put on official.
                                 - It must not already be on our forums.
            Bossman
                                 Additionally, while these are not required it's nice to have:
                                • A news article talking about the breach OR a disclosure notice from the website.
        ADIlinNISTRATQR          - The exact day of the breach.
                                 - The person who breached the data initially.
                                 - The vulnerability used (And if the website is still vulnerable).


                                 If your Thread meets these requirements, message me via one of the contact
                                 methods listed at https://bf.hn/contact and I will load your database onto official.
                                 Getting your database on official will get you a lot more credits since people know
                                 the links will be active and working, and that the breach is verified.


                                 Your thread will be automatically formatted by our plugin for Official breaches. You
                                 don't need to format the Thread for us.




        23.      On or about May 8, 2022, FITZPATRICK caused the transmission of a message

to the moniker "agent" confirming that a customer database from a U.S.-based internet hosting

and security services company ("Victim-1") had been approved and moved to BreachForums'

Official CDN. FITZPATRICK's approval caused the Victim-1 database to be offered for sale

through forum "credits" to individuals on the Internet, including an FBI online covert employee

("OCE")located in the Eastem District of Virginia who viewed the solicitation. The moniker

"agent" had posted a message on BreachForums in or around April 2022 indicating that the

Victim-1 database contained names, addresses, phone numbers, usemames, password hashes,
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and email addresses for approximately 8,000 customers, as well as payment card information for

approximately 1,900 customers.

       24.    On or about October 27, 2022,the FBI OCE purchased and downloaded this

database for 8 credits^ from the BreachForums Official CDN. The downloaded archive

contained a text file named "Breached_Info.txt," with the following message:

       This file has been downloaded from BreachForums. Please check us out.
       Our database list is provided here: https:/^reached.co/databases
       > Please do the right thing, if you share this database please mention where it was
       downloaded from!
       At the end ofthe day with your help the more users we get the more high
       quality/private
       databases will be leaked.


       25.    The downloaded archive also contained 11 text files that included customer

names, addresses, phone numbers, usemames, password hashes, email addresses, and credit card

information to include card number, expiration date, and card verification value("cw"), as

described in the BreachForums post.

   B. Fitzpatrick's Middleman Service

       26.    In a post initially made by pompompurin on BreachForums on July 24,2022, and

later modified on or around November 6,2022, FITZPATRICK officially announced his

middleman service and explained the process for reaching out to him to initiate a transaction. In

the post, which is partially reflected in the below image, FITZPATRICK (as pompompurin)

stated that he has already performed over $430,000 in middleman transactions with zero issues.




^ As of October 20,2022, credits cost approximately $0.25 each, and were available in bundles of
30,60, 120,240, and 500. Various forms of cryptocurrency were accepted as payment.
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Pom's Official Middleman/guarantor Service
[iy pompofnpunn - Sunday July 24,2022 at07.00 PM
                                                                                                                                       M5T.
                                        vlijlf ?. I. rr;."*', n - Gj P^^   ust   .'i'/rffrfTiliirt 6,   il7PM ftypiirnpon^atrffi'i                              W.
                  pompompurin          IF I AM E\^ INACTIVE OR SLOWTO REPUT, I SUGGEST http8V/fH«ached.vcmirea(l-Baphomet-Ofri...an-Sery]ce

                                        This thread is for anyone interested in leveraging my Middleman services for transactions with other users on our
                                       forum.

                                       Please be aware my contact information will always be available here; https'y^f.hn/co^tact
                                                                                                                               |  httpsv/pompur.in

                                       It's simple. Users interested In a middleman can send me a PM or reach out directly through Telegram/Matrix (Listed
                                       on https://bf.hn/contact)to initiate the trade. Please provide the following:

                                       BP Usemames(both parties):
                                       Tetegram Usemanies      parties):
                                        Thread/Product:
         ADMINISTRATflR                 Cryptocurrency being used:
                                       Price:



                                        When all this is provided to me,1 will create a group for the middleman deal. When both parties agree to the trade, I
                                        will send a wallet address for the hinds to be sent to.(I can also MM Deals over Matrix)
     Tlitesda.'

     Joined:
     R^uiadon:                         Once the funds are In my wallet and confirmed on the blockchain, I will inform both parties and the seller can release
                                       the files to the buyer. The seller wilt PM the buyer the files directly,so I never even touch the files you're selling.

                                        After the buyer has confirmed the data,and that it is as expected,I will release the funds to the seller. II an issue
                                        arises // the data doesn't match,the funds will NOT be sent until confirmation is given by the buyer ofthe data.


                                        Current MM Fee is0%.I will never charge users to use a MM.If you want to donate however, It's much appreciated as
                                       it keeps the forums running. ht4}s://bf.hrt/donate

                                        I've already mlddlemanned over S430k USD in total with zero Issues.



               27.        On July 1, 2022, an OCE located in the Eastern District of Virginia reviewed the

BreachForums website and observed a post made by "expo2020" on June 28, 2022, which

offered to sell "USA FULLZ. Name.ssn.dob.address.dl."

               28.        From July 2, 2022, through July 6, 2022, FITZPATRJCK exchanged private

messages with an FBI OCE on BreachForums and Telegram in which he agreed to middleman a

transaction in which the OCE paid approximately $5,000 to the user "expo2020" to purchase the

PII and bank account information of approximately 15 million U.S. persons, and then helped the

parties complete the transaction. FITZPATRJCK released the funds for the transaction after the

OCE informed FITZPATRJCK that the data to be purchased included birth dates, social security

numbers, and bank account information, and would be used for conducting financial scams.

               29.        Likewise, on August 17, 2022, an OCE located in the Eastern District of Virginia

reviewed the BreachForums website and observed a post that was made by "jigsaw" on August


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10,2022. In this post,jigsaw attempted to sell "Access to a US healthcare company accounting

system (contains US citizens documents)." This information purportedly included credit card

numbers, emails, full names, addresses, phone numbers,and other information.

        30.    On August 18,2022, the OCE and jigsaw arranged to have pompompurin act as

a middleman for the transaction. In a private message on BreachForums, pompompurin

contacted the OCE and requested payment via Bitcoin.

        31.    In a follow-up conversation via Telegram, pompompurin assured the OCE that the

funds would not be transferred to jigsaw until the OCE had confirmed his or her access to the

U.S. healthcare company's accounting system:

       OCE: hey,just replied to your pm on breached,just curious about how mm works
       for buying network access...like do i get to confirm that the access actually has
       the credit card #s and id photographs before the btc gets released to seller? access
       isnt worth much to me without the data to make my money back lol...its this one
       with jigsaw
       https://breached.to/Thread-Selling-Access-to-a-US-healthcare-company-
       accountingsystem-contains-US-citizens-documents

       Pom: Once you confirm you got access and got what was advertised the funds
       will be released...If any issues arise then it'll be figured out from there

       32.     After the OCE confirmed that the funds were sent to FITZPATRJCK,as

pompompurin,jigsaw provided a link to download files that included a means to gain apparent

access to the U.S. health care company's account system. Jigsaw also provided a file

(samples.7z) containing driver's license photos, insurance cards, and credit card on file

paperwork for approximately 13 individuals, that were obtained from the victim network (credit

card on file paperwork includes the patient's name,address, email address, telephone number,

signature, and the last four digits ofthe payment card on file).

        33.    The credentials provided by jigsaw constitute "access devices," as defined under

18 U.S.C. § 1029(e)(1), because they are a means of account access that either could have been

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"used to obtain money, goods, services, or any other thing of value." In particular, a malicious

actor could change account information so that reimbursement payments could be sent to an

account or address controlled by the actor, rather than the medical practice that provided care.

Additionally, the PII contained in patient records maintained by the victim can be and is sold on

internet sites such as BreachForums.


    C. Fitzpatrick Provides Additional Support to BreachForums Members'Illicit Activity

       34.     On May 11, 2022, FITZPATRICK sent a private message through BreachForums

in which he agreed to delete the registration Internet Protocol(IP) address of a BreachForums

user who wanted it deleted because "for privacy reasons, I don't want cops randomly scouting it

for dumb shit I do."


       35.     On May 24,2022,FITZPATRICK sent a private message through BreachForums

in which he promised to provide "falsified [registration] information" iflaw enforcement asked.

As part ofthe reply, FITZPATRICK noted "Sure, although I doubt law enforcement would even

bother making legal requests to a hacking forum Imao."

       36.     In September 2022,a BreachForums user sought advice on how to monetize a

breached e-commerce database that included approximately 16 million records. FITZPATRICK

used BreachForums private message to reply that "I[']d try getting money out ofthem first, and

ifthey refuse try selling it." FITZPATRICK then explained that he would value the database at

about"a few thousand" after the user sought pricing guidance.




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                      FITZPATRICK's Possession of Child Pornography

       37.      FITZPATRICK knowingly possessed approximately 26 files containing visual

depictions of minors engaged in sexually explicit conduct on his Samsung 870 QVO 4TB solid

state drive(SN S5VYNJ0T405292K)("Samsung SSD").

       38.      FITZPATRICK used his Samsung SSD with his Dell Inspiron 5593 laptop

computer(service tag number B2W9723). These devices were seized from FITZPATRICK's

home in New York on March 15, 2023, pursuant to a federal search warrant.

       39.      Law enforcement performed a digital forensic examination ofFITZPATRICK's

Samsung SSD, which revealed he had saved child pomography in two folders. Many ofthe files

had file names and phrases indicative of child pomography,such as "14yo,""15yo," and

"Hebephilia."

       40.      For example, FITZPATRICK possessed a video file with "13y-fully-nude" in the

title. This video depicts a minor female who exposes her genitals and masturbates.

FITZPATRICK saved this video file to his Samsung SSD on February 9, 2023. Forensic

artifacts show that FITZPATRICK opened this file after he saved it.

       41.      FITZPATRICK also possessed a video file with "Girl_Hebephilia" in the file title.

This video depicts two nude prepubescent females. During the video,the girls expose their

genitals to the camera and masturbate. FITZPATRICK saved this video file to his Samsung SSD

on Febmary 9,2023. Forensic artifacts show that FITZPATRICK opened this file after he saved

it.


       42.      The Dell Inspiron 5593 laptop computer and the Samsung SSD were

manufactured outside the state ofNew York, and thus had, at the time ofthe seizure, been




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shipped or transported in interstate or foreign commerce. Moreover,these devices belonged to

FITZPATRICK and were used solely by him.

                                            Conclusion


       43.     The Statement of Facts include those facts necessary to support the defendant's

guilty plea. It does not include each and every fact known to the defendant or to the government

and it is not intended to be a full enumeration of all the facts surrounding the defendant's case.

       44.     The actions ofthe defendant, as recounted above, were in all respects knowing,

voluntary, and intentional, and were not committed by mistake, accident, or other innocent

reason.




                                              Jessica D. Aber
                                              United States Attorney

                                              Kermeth A. Polite, Jr.
                                              Assistant Attorney General, Criminal Division


Date: July 10, 2023                   By:
                                              Lauren Halper
                                              Assistant United States Attorney

                                              Aarash A. Haghighat
                                              Senior Counsel
                                              Computer Crime and Intellectual Property Section
                                              U.S. Department of Justice, Criminal Division.




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       Defendant's Signature: After consulting with my attorney, I hereby stipulate that the

above Statement of Facts is true and accurate and that had the matter proceeded to trial, the

United States would have proved the same beyond a reasonable doubt.


Date: July 2:?2023                    By:                    V^
                                             Conor Brian Fitzpatrick
                                             Defendant



       Defense Counsel Signature: I am Conor Brian Fitzpatrick's attorney. I have carefully

reviewed the above Statement of Facts with him. To my knowledge, his decision to stipulate to

these facts is an informed and voluntary one.


Date: July lj_, 2023                  By:
                                             Couns              efendant




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